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       CITY OF SAN DIEGO
   8

   9                          UNITED STATES DISTRICT COURT
  10                       SOUTHERN DISTRICT OF CALIFORNIA
  11 S.R. NEHAD, an individual, K.R.              )   Case No. 15cv1386 WQH (NLS)
     NEHAD, an individual, ESTATE OF              )
  12 FRIDOON RAWSHAN NEHAD,                       )   DEFENDANTS SHELLEY
                                                  )   ZIMMERMAN, NEAL N.
  13                Plaintiffs,                   )   BROWDER AND CITY OF SAN
                                                  )   DIEGO’S NOTICE OF MOTION
  14          v.                                  )   AND MOTION FOR PARTIAL
                                                  )   SUMMARY JUDGMENT
  15   SHELLEY ZIMMERMAN, in her                  )
       personal and official capacity as Chief of )
  16   Police, NEAL N. BROWDER, an                )
       individual, CITY OF SAN DIEGO, a           )   Date:       April 17, 2017
  17   municipality, and DOES 1 through 10, )         Judge:      Hon. William Q. Hayes
       inclusive,                                 )   Court Room: 14B
  18                                              )
                    Defendants.                   )   NO ORAL ARGUMENT UNLESS
  19                                              )   REQUESTED BY THE COURT
                                                  )
  20

  21             TO PLAINTIFF’S S.R. NEHAD, K.R. NEHAD and the ESTATE OF
  22   FRIDOON RAWSHAN NEHAD, AND THEIR ATTORNEY OF RECORD:
  23             PLEASE TAKE NOTICE that on April 17, 2017, or as soon thereafter as the
  24   matter may be heard in Courtroom 14B of the Honorable William Q. Hayes, in the
  25   above-entitled court, located at 333 West Broadway, San Diego, California,
  26   Defendants SHELLEY ZIMMERMAN, NEAL BROWDER and the CITY OF
  27   SAN DIEGO, by and through their attorney of record John Riley, will move the
  28

                                                 1
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   1   Court pursuant to Federal Rule of Civil Procedure 56 to grant this Motion for
   2   Partial Summary Judgment.
   3             This motion will be based on this notice of motion and motion; the City
   4   Defendants’ Memorandum of Points and Authorities in support of this motion; the
   5   Declarations in Support of City Defendants’ Motion for Summary Judgment, the
   6   pleadings; the City Defendants’ list of evidence; as well as all other papers,
   7   affidavits, exhibits, deposition transcripts or other documents lodged concurrently
   8   with this motion, and further oral and documentary evidence and matters as may be
   9   presented to the court upon the hearing of said motion.
  10             The grounds for this motion are that the facts do not support, as a matter of
  11   law, a constitutional violation of the U.S. Constitution for excessive use of force
  12   and wrongful death or alternatively, that the defendant officer is entitled to qualified
  13   immunity. Further, Plaintiffs’ claims for “Monell” liability and related supervisory
  14   liability fail as a matter of law. There is no legal basis for Plaintiffs’ causes of
  15   action for violation of the Federal Civil Rights Act, 42 U.S.C. § 1983 including
  16   allegations of individual liability or entity liability. Further, there is no basis in law
  17   for Plaintiffs’ intentional tort state law claims. Defendants seek a dismissal of all
  18   Federal claims and the intentional tort state law claims. Defendants seek the
  19   adjudication of the following issue of law:
  20   ADJUDICATION NO. 1:
  21
                                           Fridoon Rawshan Nehad’s (Estate)
                                           Fourth Amendment Rights. Officer Browder
  22                                       reasonably believed he faced an immediate threat
  23
                                           of serious bodily injury or death. Browder’s
                                           response of deadly force did not violate the Estate
  24                                       of Fridoon Rawshan Nehad’s Fourth Amendment
  25                                       rights.
       ADJUDICATION NO. 2:
  26
                                           S.R. Nehad and K. R. Nehad’s Fourteenth
  27                                       Amendment Rights - Officer Browder’s use of
  28                                       force served a legitimate police purpose thereby

                                                     2
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   1                                     there is no violation of Plaintiffs’ Fourteenth
   2
                                         Amendment Rights.

   3   ADJUDICATION NO. 3:
                                         Entity and supervisory liability (City of San Diego
   4                                     and Shelley Zimmerman as Chief of Police)
   5                                     (Monell claim) - There is no entity or supervisory
                                         liability (Monell claim) because there was no
   6
                                         constitutional violation of Plaintiffs’ civil rights.
   7   ADJUDICATION NO. 4:
   8                                     Plaintiffs fail to provide a legal basis or causal
                                         connection to support entity and supervisory
   9
                                         liability (City of San Diego and Shelley
  10                                     Zimmerman as Chief of Police) (Monell claim) -
                                         There is no entity liability (Monell claim) because
  11
                                         Plaintiffs’ police tactics expert is not qualified to
  12                                     offer opinions regarding the adequacy of the City of
                                         San Diego’s homicide investigations, OIS and IA
  13
                                         files. Plaintiffs’ police tactics expert’s methodology
  14                                     lacks reliability and does not meet standards in the
                                         industry. Plaintiffs’ police tactics expert opinion
  15
                                         fails to establish causation to support these claims.
  16

  17   ADJUDICATION NO. 5:

  18                                     Qualified Immunity – Officer Browder did not
                                         violate Plaintiffs’ Fourth or Fourteenth Amendment
  19
                                         rights, but if he did, his violation was not
  20                                     unreasonable beyond debate and he was not totally
                                         incompetent and is therefore entitled to qualified
  21
                                         immunity.
  22
                 Dated: March 16, 2017              MARA W. ELLIOTT, City Attorney
  23

  24
                                                   By /s/ John Riley
  25                                                    John Riley
                                                        Chief Deputy City Attorney
  26
                                                   Attorneys for Defendants
  27                                               SHELLEY ZIMMERMAN, NEAL N.
                                                   BROWDER and CITY OF SAN
  28                                               DIEGO

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